Case 5:22-cv-03086-DDC-KGG Document 14-1 Filed 09/12/22 Page 1 of 2

David W. Thayer, Plaintiff, Pro se.
1301 KS Hwy 264

Larned, KS 67550

620-285-4660 Ext. |

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

David W. Thayer,
Plaintiff,

Vv.

Lesia Dipman, Larned State Hospital (LSH),) Case No.
Superintendent; Jeff Brown, LSH Chaplain; Haleigh) _
Bennett, SPTP Interim Program Director; Linda Kidd, ) COMPLAINT FOR DAMAGES,
SPTP Program Leader. DECLARATORY JUDGMENT,

Defendant(s). AND INJUNCTIVE RELIEF.

 

 

SUBMISSION OF FINANCIAL STATEMENT
Plaintiff, David W. Thayer, Pro Se., hereto submits a copy of his financial account balance for
the previous six (6) months supplied by Jeg ay Larned State Hospital's Patient Trust Fund

Custodian.

Dated: 7-22 LO. 49 AM
By: Det W ZT Auoyor

David W. Thayer, Pro Se.

 

Submission of Financial Statement Page | of | September 06, 2022

 
ID
42433

Date
08/26/2022
08/22/2022
08/22/2022
08/19/2022
08/09/2022
08/08/2022
08/04/2022
07/29/2022
07/26/2022
07/25/2022
07/25/2022
07/15/2022
07/12/2022
07/11/2022
07/08/2022
06/30/2022
06/28/2022
06/27/2022
06/27/2022
06/14/2022
06/13/2022
06/03/2022
06/01/2022
05/31/2022
05/31/2022
05/27/2022
05/17/2022
05/16/2022
05/03/2022
05/02/2022
05/02/2022
04/22/2022
04/19/2022
04/18/2022
04/18/2022
04/06/2022
04/04/2022
04/04/2022
03/25/2022
03/15/2022
03/03/2022

03/07/2022

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NAME

THAYER, DAVID

Receipt
157180
157133
00036
4157131
157033
00026
00024
157006
156953
156949
00016
156915
156845
00006
156837
00251
156756
156753
00248
156650
00238
156606
156559
156557
00229
156554
156451
00219
156378
156374
00209
156345
156269
156264
00199
156199
156141
00189
156108
156038
00167

RESIDENT TRUST FUND

COTTAGE
SPTP — LCMHF

Category

Canteen Sheet

Board and Care
Electronic BKarnings
Canteen Sheet
EARNINGS TRANSFER
Electronic Barnings
Cash

Canteen Sheet
EARNINGS TRANSFER
Board and Care
Electronic Earnings
Canteen Sheet
EARNINGS TRANSFER
Electronic Barnings
Canteen Sheet
Personal Check
BARNINGS TRANSFER
Board and Care
Electronic Earnings
EARNINGS TRANSFER
Blectronic Earnings
Canteen Sheet
EARNINGS TRANSFER
Board and Care
Electronic Earnings
Canteen Sheet
EARNINGS TRANSFER
Electronic Earnings
EARNINGS TRANSFER
Board and Care
Electronic Barnings
Canteen Sheet
EARNINGS TRANSFER
Board and Care
Electronic Barnings
Postage

Board and Care
Electronic Earnings
Canteen Sheet
Canteen Sheet

Income Tax Refund

Credit

15.00

140.63
50,00

127.50

165.00

60.00

202.50

150.00

142.50

120.00

93.75

114.38

24,38

176.00

BIRTHDAY
/ of

Debit

10.45
14,31

19,75
44,75
82.75

20.70
145.00

59.15

89.75
112.75

130.00
11.85
74.75
67.75

100.00

35.36
58.39

17.60
108.74
26.75

24.38

81.25
50.75

8.5. NUMBER

Balance

0.97
11.42
25.73
10.73
70.63

191.26
50.63

0.63
20.38
65.13

147.88
20.38
41.68

186.08
21.08
80,23
20,23

109.98

222,73
20.23

150.23

12.08
86.83
154.58
12,08
20.38
120.38

35.74
94,13

17.98
126.72
132,36

17,98

44.73

69,11

44,73
125.98
176.73

CHK #

CHECK

CHECK

CHK ff

CHK #

CHECK

CHK #

CHK #

CHK #
CHK #

CHECk

Remarks

157071

#156979

#156979

156792

156685

#156595

156487

156398

156304
156265

#156210

 
